          Case 24-80040-11                    Doc 1             Filed 04/01/24 Entered 04/01/24 08:46:13                          Desc Main
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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Northern District of Texas
                                                       (State)                                                                       ☐ Check if this is an
Case number (if known):                                            Chapter     11                                                        amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                      06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               EIGER BIOPHARMACEUTICALS, INC.


                                                 None
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer              3        3        -       0     9    7      1       5      9   1
   Identification Number (EIN)

4. Debtor’s address                    Principal place of business                                       Mailing address, if different from principal place
                                                                                                         of business
                                       2155 Park Boulevard
                                       Number                    Street                                  Number         Street


                                                                                                         P.O. Box
                                       Palo Alto, California 94306
                                          City                                State       Zip Code       City                         State     Zip Code

                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                       Santa Clara County
                                          County                                                         Number         Street




                                                                                                         City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.eigerbio.com

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




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Debtor            EIGER BIOPHARMACEUTICALS, INC.                                      Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .

                                            3254
8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                   ☐    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                     not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                   ☐    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                   ☐    A plan is being filed with this petition.
                                                   ☐    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                   ☒    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                        the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                   ☐    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




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Debtor           EIGER BIOPHARMACEUTICALS, INC.                                     Case number (if known)
          Name



10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.       Debtor                                                         Relationship
                                                                   See Attached Schedule 1
    business partner or an
    affiliate of the debtor?                         District
   List all cases. If more than 1,                                                                                  When
   attach a separate list.                         Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?
                                                 ☐     It needs to be physically secured or protected from the weather.

                                                 ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                        other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                       Number          Street



                                                                                       City                                 State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.         Insurance agency

                                                                Contact name
                                                                Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                         ☐     1,000-5,000                      ☐     25,001-50,000
    creditors (on a                   ☐     50-99                        ☐     5,001-10,000                     ☐     50,001-100,000
    consolidated basis)               ☒     100-199                      ☐     10,001-25,000                    ☐     More than 100,000
                                      ☐     200-999




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     Debtor           EIGER BIOPHARMACEUTICALS, INC.                                     Case number (if known)
               Name



     15. Estimated assets (on a          ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
         consolidated basis)             ☐       $50,001-$100,000           ☒     $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                         ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                         ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

     16. Estimated liabilities (on       ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
         a consolidated basis)           ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☐ $1,000,000,001-$10 billion
                                         ☐      $100,001-$500,000            ☒    $50,000,001-$100 million               ☐ $10,000,000,001-$50 billion
                                         ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐ More than $50 billion

                       Request for Relief, Declaration, and Signatures

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

     17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
         authorized representative of        petition.
         debtor
                                             I have been authorized to file this petition on behalf of the debtor.
                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.

                                     I declare under penalty of perjury that the foregoing is true and correct.


                                             Executed on         4/1/2024
                                                                  MM/ DD / YYYY


                                                                                                                     David Apelian
                                                  Signature of authorized representative of debtor                Printed name

                                                  Title    Chief Executive Officer




     18. Signature of attorney                    /s/ Thomas R. Califano                                         Date       4/1/2024
                                                  Signature of attorney for debtor                                           MM/DD/YYYY



                                                  Thomas R. Califano
                                                  Printed name
                                                  Sidley Austin LLP
                                                  Firm name
                                                  2021 McKinney Avenue, Suite 2000
                                                  Number              Street
                                                  Dallas                                                                 TX                75201
                                                  City                                                                   State               ZIP Code

                                                  (214) 981-3300                                                         (214) 981-3300
                                                  Contact phone                                                               Email address
                                                  24122825                                            TX
                                                  Bar number                                          State




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                                                                       ,
 United States Bankruptcy Court for the:
                           Northern District of Texas
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                                Chapter   11                                     amended filing


                                                  Schedule 1
                     Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Northern District of Texas for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
chapter 11 case of Eiger BioPharmaceuticals, Inc.

 Eiger BioPharmaceuticals, Inc.
 EBPI Merger Inc.
 EB Pharma LLC
 Eiger BioPharmaceuticals Europe Limited
 EigerBio Europe Limited
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                                                MINUTES OF A MEETING OF THE
                                                  BOARD OF DIRECTORS OF
                                              EIGER BIOPHARMACEUTICALS, INC.


           DATE:                                                        March 30, 2024

           TIME:                                                        7:30 a.m. Pacific Time

           PLACE:                                                       Virtual

           BOARD MEMBERS PRESENT:                                       Tom Dietz, Ph.D.
                                                                        David Apelian, M.D., Ph.D., M.B.A.
                                                                        Lisa Kelly-Croswell
                                                                        Jeffrey Glenn, M.D., Ph.D.
                                                                        Evan Loh, M..D.
                                                                        Kim Sablich
                                                                        Amit Sachdev, J.D.

           BOARD MEMBERS ABSENT:                                        None

           OTHERS PRESENT:                                              Jim Vollins, J.D.
                                                                        Bill Kachioff
                                                                        Tom Califano, J.D., Sidley Austin LLP
                                                                        Bill Curtin, J.D., Sidley Austin LLP
                                                                        Carlton Fleming, J.D., Sidley Austin LLP
                                                                        Anne Wallice, J.D., Sidley Austin LLP

               1.       CALL TO ORDER

                  A telephonic meeting of the Board of Directors (the “Board”) of EigerBioPharmaceuticals, Inc., a
           Delaware corporation (the “Company”), was held at the above date and time pursuant to notice duly given or
           waived. Dr. Dietz presided as Chairman and Mr. Vollins acted as Secretary ofthe meeting. Dr. Dietz called the
           meeting to order and announced that the directors present constituted a quorum and that the meeting was duly
           convened. At the beginning of the meeting, all attendees were present.

               2.       SITUATION UPDATE

                      The Board, management and representatives of Sidley Austin LLP discussed recent developments;
             efforts to identify strategic partners, equity financing sources and other paths forward for the Company; and
             matters related to the Company’s creditors and other stakeholders. The Board also discussed the Company’s
             financial condition and prospects. Following discussion, the Board approved the resolutions attached as
             Exhibit A hereto on behalf of the Company and its subsidiaries identified therein.

                        Dr. Apelian and Mr. Vollins left the meeting.

               3.       EXECUTIVE SESSION

                      The Board continued to discuss strategic matters.




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               4.    CONCLUSION

                    There being no further business to come before the Board, the meeting concluded at 8:15 a.m. Pacific
           Time.

                                                             Respectfully submitted:



                                                             Jim Vollins, Secretary of the Meeting


           Approved:



                    Tom Dietz, Ph.D., Chair of the Meeting
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                                                               Exhibit A

                                                    RESOLUTIONS
                                                        OF
                                               THE APPROVING PARTIES
                                                        OF
                                         THE COMPANIES LISTED ON SCHEDULE I

                                                             March 30, 2024

                   (1) the members of the board of directors for each Company listed under Group 1 on
           Schedule I, and (2) the sole member of the Company listed under Group 2 on Schedule I (in each
           case, the “Approving Party”), of each of the entities specified on Schedule I attached hereto (each
           such entity individually, a “Company” and, collectively, the “Companies”), do hereby consent to,
           adopt and approve the following resolutions and each and every action effected thereby:

           I. Chapter 11 Filing

                  WHEREAS, each Approving Party has considered presentations by each Company’s
           management (“Management”) and its legal and financial advisors (collectively, the “Advisors”)
           regarding (a) the assets, the current and long-term liabilities, the historical performance, liquidity,
           and prospects of the Companies, (b) the strategic alternatives available to the Companies, and (c) the
           potential effects of the foregoing on the Companies’ business and stakeholders (collectively, the
           “Strategic Alternatives”); and

                   WHEREAS, each Approving Party has received, reviewed, considered and discussed the
           recommendations of Management and the Advisors and fully considered the Strategic Alternatives,
           including the relative risks and benefits of pursuing bankruptcy proceedings under the provisions of
           chapter 11 of title 11 of the United State Code (the “Bankruptcy Code”), and has determined that it
           is desirable and in the best interests of each Company, its creditors, its stockholders and other
           interested parties and stakeholders that each Company file a voluntary petition for relief
           (the “Petitions”) to commence a case (each, a “Bankruptcy Case” and, collectively, the “Bankruptcy
           Cases”) under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the
           Northern District of Texas (the “Bankruptcy Court”).

                   RESOLVED, that each of the Companies is authorized and directed to file a Petition for
           relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and perform any and all
           such acts as are reasonable, advisable, expedient, convenient, proper or necessary to effect the
           foregoing;

                  RESOLVED FURTHER, that any officer, director or other authorized person of the
           Companies or any of their delegates (each individually, an “Authorized Person” and collectively,
           the “Authorized Persons”) shall be, and each of them, acting alone, hereby is, authorized and
           empowered in the name of and on behalf of the Companies to verify, modify (as necessary or
           desirable), execute, and/or file or cause to be filed the Petitions, any ancillary documents, and all
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           other schedules, lists, motions, applications, and other papers or documents necessary or desirable in
           connection with the foregoing in such form or forms as any such Authorized Person may approve;

                   RESOLVED FURTHER, that each of the Authorized Persons of the Companies shall be,
           and each of them acting alone hereby is, authorized, directed and empowered, in the name of and on
           behalf of the Companies, to pay all expenses, including Advisors’ fees and retainers, taxes, consent
           payments, indemnities, and filing fees, in each case as in such Authorized Person’s or Authorized
           Persons’ judgment shall be necessary or desirable in order to fully carry out the intent and accomplish
           the purposes of the resolutions adopted herein, with all of such payments to be conclusive evidence
           of such approval and that such Authorized Person deemed the same to be so necessary, appropriate,
           or advisable;

                   RESOLVED FURTHER, that each Authorized Person be, and hereby is, authorized,
           directed, and empowered from time to time in the name and on behalf of the Companies, to perform
           the obligations of the Companies under the Bankruptcy Code, with all such actions to be performed
           in such manner, and all such certificates, instruments, guaranties, notices, and documents to be
           executed and delivered in such form, as the Authorized Person performing or executing the same
           shall approve, and the performance or execution thereof by such Authorized Person shall be
           conclusive evidence of the approval thereof by such Authorized Person and by each Approving Party;

                   RESOLVED FURTHER, that each Authorized Person be, and hereby is, authorized,
           directed, and empowered from time to time in the name and on behalf of each Company, to cause the
           Companies to enter into, execute, deliver, certify, file, record, and perform such agreements,
           instruments, motions, affidavits, applications for approvals or rulings of governmental or regulatory
           authorities, certificates, or other documents, to pay all expenses, including filing fees, and to take
           such other actions as in the judgment of such Authorized Person shall be necessary, proper, or
           desirable to prosecute to a successful completion the Bankruptcy Cases and to effectuate the
           restructuring or liquidation of the Companies’ debt, other obligations, organizational form, or
           structure and ownership of the Companies, all consistent with the foregoing resolutions and to carry
           out and put into effect the purposes of these resolutions, and the transactions contemplated by these
           resolutions, their authority thereunto to be evidenced by the taking of such actions;

                   RESOLVED FURTHER, that the Authorized Persons be, and they hereby are, authorized
           to bind the Companies for the purposes of the resolutions herein; and

                   RESOLVED FURTHER, that each Approving Party has received sufficient notice of the
           actions and transactions relating to the matters contemplated by the foregoing resolutions or hereby
           waives any right to have received such notice.

           II. Retention of Advisors

                  RESOLVED FURTHER, that each of the Authorized Persons, acting individually and with
           full power of substitution, be, and hereby is, authorized, empowered and directed to retain the
           following professionals on behalf of the Company: (i) the law firm of Sidley Austin LLP, as general
           bankruptcy counsel; (ii) the financial advisory firm of Alvarez & Marsal North America, LLC, as
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           financial advisor; (iii) the investment banking firm of SSG Advisors, LLC, as investment banker;
           (iv) Kurtzman Carson Consultants LLC, as claims and noticing agent and administrative advisor; and
           (v) any other legal counsel, accountants, financial advisors, restructuring advisors, or other
           professionals as such Authorized Person deems necessary, appropriate, or advisable to represent and
           assist the Company in carrying out its duties and responsibilities and exercising its rights under the
           Bankruptcy Code and any applicable law (including, but not limited to, the law firms filing any
           pleadings or responses) and to take any and all actions to advance the rights and obligations of the
           Company, including filing any motions, objections, replies, applications, or pleadings; and in
           connection therewith, each of the Authorized Persons be, and hereby is authorized, empowered, and
           directed, in accordance with the terms and conditions hereof, to execute appropriate retention
           agreements, pay appropriate retainers, and to cause to be filed appropriate applications for authority
           to retain such services; and

                    RESOLVED FURTHER, that each of the Authorized Persons be, and hereby are, authorized and
           empowered and directed to execute and file all petitions, schedules, motions, lists, applications, pleadings, or
           other papers, and to perform such further actions and execute such further documentation that the Authorized
           Persons in their absolute discretion deem necessary, appropriate, or desirable in accordance with these
           resolutions.

           III. Marketing Process and Sale

                   RESOLVED FURTHER, that each of the Companies, with the assistance of their Advisors, are
           authorized to continue its fulsome marketing and sale process during the Chapter 11 Cases, including
           contacting, discussing, negotiating, and soliciting offers from potential bidders, including conducting any
           auction in connection therewith, in order to receive the highest or otherwise best offer for the sale of the
           Company’s Assets (collectively, the “Sale Process”);

                    RESOLVED FURTHER, that in the judgment of the Approving Parties, it is desirable and in the
           best interests of each Company, its interest holders, its subsidiaries, its creditors, and other parties in interest
           that each Company be, and hereby is, authorized to negotiate, execute, and enter into, all required
           documentation to consummate any sale transaction for the highest or otherwise best offer for the sale of any
           assets of each Company (the “Sale Transaction(s)”) (including any stalking horse agreement, asset purchase
           agreements or any other agreements or documents evidencing any such sale (collectively, the “Purchase
           Agreement(s)”)), with such changes, additions, and modifications thereto as an Authorized Person shall
           approve;

                    RESOLVED FURTHER, that the Companies shall be, and hereby are, and the Authorized Persons
           shall be, and each of them, acting alone, hereby is, in the name and on behalf of the Companies, authorized,
           directed and empowered to seek entry of an order or orders authorizing entry into any Purchase Agreement(s)
           and consummation of the Sale Transaction(s) contemplated thereby, all substantially in accordance with
           documents that have been presented or will be presented to the Approving Party and/or filed with the
           Bankruptcy Court, subject to such modifications thereto as the Approving Party or Management may deem
           necessary or advisable (the approval of which to be conclusively established by the execution thereof by an
           Authorized Person);

                 RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is, authorized and
           empowered to take any and all actions necessary or advisable to advance each Company’s rights and
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           obligations under any Purchase Agreement and/or the Sale Process, including filing of additional pleadings
           with the Bankruptcy Court; and in connection therewith, each Authorized Person, with power of delegation,
           is hereby authorized and directed to take all necessary actions in furtherance of the foregoing resolutions;

                   RESOLVED FURTHER, the Board hereby authorizes, adopts, approves, ratifies and confirms the
           Sale Transaction(s) and each Company’s entry into the Purchase Agreement(s), and each of the documents
           and agreements contemplated under any Purchase Agreement (the “Transaction Documents”) to which the
           Companies are a party, and the performance of the Companies’ obligations thereunder and (subject to the
           approval of the Bankruptcy Court) the consummation of the Sale Transaction(s) contemplated thereby;

                   RESOLVED FURTHER, that each Authorized Person hereby is authorized and empowered to
           execute and deliver any Purchase Agreement(s), any Transaction Documents and any and all certificates,
           agreements, instruments, documents and undertakings of any kind and nature contemplated thereunder to
           which each Company is to be a party or as are necessary or appropriate to consummate the Sale Transaction(s)
           contemplated by any Purchase Agreement(s) and the Transaction Documents, in the name and on behalf of
           each Company, with such additions, deletions or changes therein (including, without limitation, any additions,
           deletions or changes to any schedules or exhibits thereto) as the Authorized Person executing the same shall
           approve (the execution and delivery thereof by the Authorized Person to be conclusive evidence of such
           Authorized Person’s approval of any such additions, deletions or changes);

                  RESOLVED FURTHER, in addition to the specific authorizations heretofore conferred upon the
           Authorized Persons, the Authorized Persons, either individually or as otherwise required by each Company’s
           governing documents and applicable law, be, and each of them hereby is, authorized to execute (under hand
           or under the common seal of the Company if appropriate), acknowledge, deliver, and file any and all
           agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds and other documents
           on behalf of the Company relating to any Purchase Agreement(s) and the Transaction Documents.

           IV. Further Actions and Prior Acts

                   RESOLVED FURTHER, that in addition to the specific authorizations heretofore conferred upon
           the Authorized Persons, the Authorized Persons, either individually or as otherwise required by the Company’s
           governing documents and applicable law, be, and each of them hereby is, authorized to execute (under hand
           or under the common seal of the Company if appropriate), acknowledge, deliver, and file any and all
           agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds and other documents
           on behalf of the Company relating to the Chapter 11 Cases;

                   RESOLVED FURTHER, that each of the Authorized Persons, each acting individually and with full
           power of substitution be, and hereby is, authorized, empowered, and directed to execute and file all petitions,
           schedules, motions, lists, applications, pleadings, and other papers, and to perform such further actions and
           execute such further documentation that such Authorized Person in their absolute discretion deems necessary,
           appropriate, or desirable in accordance with these resolutions;

                    RESOLVED FURTHER, that, in addition to the specific authorizations heretofore conferred upon
           the Authorized Persons, the Authorized Persons, either individually or as otherwise required by each of the
           Company’s governing documents and applicable law, be, and each of them hereby is, authorized to take any
           and all such other and further actions, and to do all such other deeds and other things as the Company may
           lawfully do, in accordance with its governing documents and applicable law, including but not limited to, the
           negotiation, finalization, execution, acknowledgement, delivery, and filing of any and all agreements,
           certificates, instruments, powers of attorney, letters, forms, transfer, deeds, and other documents on behalf of
DocuSign Envelope ID: E78EFC85-3230-43F3-923C-5555237D9E95
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           the Company, and the payment of all expenses, including but not limited to filing fees, in each case as such
           Authorized Person’s or Authorized Persons’ may, in his/her/its/their absolute and unfettered discretion
           approve, deem or determine necessary, appropriate, advisable, or desirable in order to fully carry out the intent
           and accomplish the purposes of the resolutions adopted herein; such approval, deeming, or determination to
           be conclusively evidenced by said individual taking such action or the execution thereof;

                    RESOLVED FURTHER, that each Approving Party has received sufficient notice of the actions and
           transactions relating to the matters contemplated by the foregoing resolutions, as may be required by the
           organizational documents of the Company, or hereby waive any right to have received such notice; and

                   RESOLVED FURTHER, that all acts, actions, and transactions relating to the matters contemplated
           by the foregoing resolutions done in the name of and on behalf of the Company, which acts would have been
           approved by the foregoing resolutions except that such acts were taken before the adoption of these resolutions,
           are hereby in all respects approved, confirmed and ratified as the true acts and deeds of the Company with the
           same force and effect as if each such act, transaction, agreement, or certificate had been specifically authorized
           in advance by resolution of the Approving Parties.
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                                                             SCHEDULE I

             Group 1
             Eiger BioPharmaceuticals, Inc.
             EBPI Merger, Inc.
             Eiger BioPharmaceuticals Europe Limited
             EigerBio Europe Limited

             Group 2
             EB Pharma, LLC
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Official Form 201A (12/15)

                                 IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE NORTHERN DISTRICT OF TEXAS
                                              DALLAS DIVISION


                                                                      )
 In re:                                                               )       Chapter 11
                                                                      )
 EIGER BIOPHARMACEUTICALS, INC.                                       )       Case No. 24-___________(___)
                                                                      )
                                Debtor.                               )
                                                                      )

   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
     If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
 number is     001-36183

     The following financial data is the latest available information and refers to the debtor’s condition on
 December 31, 2023


      Total assets                                                        $    38,826,000
      Total debts (including debts listed in 2.c., below)                 $    53,139,000
      Debt securities held by more than 500 holders

      secured ☐        unsecured ☐        subordinated      ☐     $
      secured ☐        unsecured ☐        subordinated      ☐     $
      secured ☐        unsecured ☐        subordinated      ☐     $
      secured ☐        unsecured ☐        subordinated      ☐     $
      secured ☐        unsecured ☐        subordinated      ☐     $


      Number of shares of preferred stock
                                                                                                            1,479,483      (as   of
      Number of shares of common stock                                                                      December 31, 2023 (as
                                                                                                            adjusted to reflect the
                                                                                                            1-for-30 reverse stock
                                                                                                            split    effected    on
                                                                                                            January 5, 2024))


      Comments, if any:




     Brief description of debtor’s business:       Eiger BioPharmaceuticals, Inc. is a commercial-stage biopharmaceutical
 company focused on the development of innovative therapies for hepatitis delta virus (HDV) and other serious diseases. All of the
 Company’s rare disease programs in its portfolio have FDA Breakthrough Therapy designation.


     List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
 securities of debtor:
 Moshe Arkin




                                                                                                                              Page 4
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


                                                              )
    In re:                                                    )     Chapter 11
                                                              )
    EIGER BIOPHARMACEUTICALS, INC.                            )     Case No. 24-___________(___)
                                                              )
                                                              )
                               Debtor.                        )
                                                              )

                                LIST OF EQUITY SECURITY HOLDERS 1

                                                                                                  Percentage of
                     Equity Holder                        Address of Equity Holder
                                                                                                  Equity Held
      Entities Affiliated with Ameriprise AFI:      145   Ameriprise
      Financial, Inc.                      Financial          Center,
                                           Minneapolis, MN 55474
      (includes Ameriprise Financial, Inc.
      (AFI), Columbia Management Investors CIMA & Fund: 290                                          16. 90 %
      Advisors, LLC (CIMA), and Columbia Congress Street, Boston MA
      Seligman Technology and Information 02210
      Fund (Fund))

      Entities Affiliated with Propel Bio 1900 Avenue of the Stars,
      Partners LLC                         #1000, Los Angeles, CA
                                           90067
      (includes Propel Bio Partners LLC,                                                             12.10 %
      Richard and Suzanne Kayne Living
      Trust DTD 01/14/1999, and Propel Bio
      Partners LLC)
      Moshe Arkin                                        Address On File                             10.09 %

1
       This list reflects holders of five percent or more of Eiger BioPharmaceuticals, Inc.’s common stock. This list
       serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of Bankruptcy
       Procedure. All equity positions are based upon information supplied by the equity holders on Schedules 13D and
       13G filed by the equity holders with the U.S. Securities and Exchange Commission, and reflect equity positions
       preceding the date of commencement of these chapter 11 cases, and are as of the date of such filings. By the
       Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Debtors to (A) File a Consolidated Creditor
       Matrix and (B) File a Consolidated List of 30 Largest Unsecured Creditors; (II) Waiving the Requirement to File
       a List of Equity Security Holders; (III) Authorizing the Debtors to Redact Certain Personally Identifying
       Information; and (IV) Approving the Form and Manner of Notifying Creditors of the Commencement of the
       Chapter 11 Cases and Other Information, filed contemporaneously herewith, the debtor is requesting a waiver of
       the required under rule 1007 to file a list of all of its equity security holders.
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


                                                            )
    In re:                                                  )    Chapter 11
                                                            )
    EIGER BIOPHARMACEUTICALS, INC.                          )    Case No. 24-___________(___)
                                                            )
                                                            )
                              Debtor.                       )
                                                            )

                                 CORPORATE OWNERSHIP STATEMENT 1

        Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the following are corporations, other than a government unit, that directly or indirectly own 10%
or more of any class of the debtor’s equity interest:

                       Shareholder                              Approximate Percentage of Shares Held
    Entities Affiliated with Ameriprise Financial,
    Inc.

    (includes Ameriprise Financial, Inc., Columbia
                                                                                    16.90 %
    Management Investors Advisors, LLC, and
    Columbia     Seligman     Technology       and
    Information Fund)

    Entities Affiliated with Propel Bio Partners LLC

    (includes Propel Bio Partners LLC, Richard and                                  12.10 %
    Suzanne Kayne Living Trust DTD 01/14/1999,
    and Propel Bio Partners LLC)
    Moshe Arkin                                                                     10.09 %




1      All equity positions are based upon information supplied by the equity holders on Schedules 13D and 13G filed
       by the equity holders with the U.S. Securities and Exchange Commission, and reflect equity positions preceding
       the date of commencement of these chapter 11 cases, and are as of the date of such filings.
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Fill in this information to identify the case:
Debtor name: Eiger Biopharmaceuticals, Inc.
United States Bankruptcy Court for the: Northern District of Texas Dallas Division
Case number (If known): ___________                                                                                                                                       Check if this is an amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who
is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
holders of the 30 largest unsecured claims.

     Name of creditor and complete mailing             Name, telephone number, and email address of creditor Nature of the claim Indicate if claim   Amount of unsecured claim
     address, including zip code                       contact                                               (for example, trade is contingent,      If the claim is fully unsecured, fill in only unsecured
                                                                                                             debts, bank loans,  unliquidated, or    claim amount. If claim is partially secured, fill in total
                                                                                                             professional        disputed            claim amount and deduction for value of collateral or
                                                                                                             services, and                           setoff to calculate unsecured claim.
                                                                                                             government                              Total claim, if      Deduction        Unsecured claim
                                                                                                             contracts)                              partially            for value of
                                                                                                                                                     secured              collateral or
                                                                                                                                                                          setoff
   Merck Sharp & Dohme LLC
                                                       Attn: Robert M. Davis
   126 East Lincoln Avenue
 1                                                     Title: Chairman and Chief Executive Officer                  Trade Payables                                                            $1,000,000
   Rahway, NJ 07065
                                                       Phone: 908-740-4000
   United States
   IQVIA Biotech LLC                                   Attn: Mary Fisher
   1700 Perimeter Park Dr                              Title: Senior Billing Specialist, Finance Department
2                                                                                                                   Trade Payables                                                             $416,879
   Morrisville, NC 02760                               Phone: (919) 972-2289
   United States                                       Email: mfisher@iqvia.com
   SATT Conectus Alsace SAS                            Attn: Marc Gillmann
   5 Rue Schiller                                      Title: Chairman and Chief Executive Officer
3                                                                                                                   Trade Payables                                                             $331,733
   Strasbourg Bas-Rhin, 67000                          Phone: +33 (0) 3 68 41 12 60
   France                                              Email: marc.gillmann@conectus.fr
   RRD International, LLC                              Attn: Scott Tarrant
   7361 Calhoun Place, Suite 510                       Title: Chief Executive Officer
4                                                                                                                   Trade Payables                                                             $271,725
   Rockville, MD 20855                                 Phone: (301) 762-6100
   United States                                       Email: starrant@rrdintl.com
   Real Staffing Group
   C/O Specialist Staffing Solutions, Inc.             Attn: Andrew Beach
5 909 Fannin Street Suite P 350                        Title: Chief Financial Officer                               Trade Payables                                                             $159,452
   Houston, TX 77010                                   Email: A.beach@sthree.com
   United States
   Patheon Inc.                                        Attn: Marc N. Casper
   168 Third Avenue                                    Title: Chairman, President and Chief Executive Officer
6                                                                                                                   Trade Payables                                                             $150,291
   Waltham, MA 02451                                   Phone: (781) 622-1000
   United States                                       Email: marc.casper@thermofisher.com
   Biorasi LLC                                         Attn: Chris O'Brien
   18851 NE 29th Ave Suite 800                         Title: Chief Executive Officer
7                                                                                                                   Trade Payables                                                             $134,145
   Miami, FL 33180                                     Phone: (786) 388-0700
   United States                                       Email: cobrien@biorasi.com
   Connor Group Global Services LLC
                                                       Attn: Jeff Pickett
   3979 Freedom Circle
                                                       Title: Founder and Chair
8 Suite 700                                                                                                         Trade Payables                                                             $132,510
                                                       Phone: (650) 300-5101
   Santa Clara, CA 95054
                                                       Email: jeff@connorgp.com
   United States
   Sharp Packaging Services LLC                        Attn: Kevin Orfan
   7451 Keebler Way                                    Title: Chief Executive Officer
9                                                                                                                   Trade Payables                                                             $105,000
   Allentown, PA 18106                                 Phone: (610) 395-5800
   United States                                       Email: whitney.beatty@sharpclinical.com
   Patheon Manufacturing Services LLC                  Attn: Marc N. Casper
   5900 Martin Luther King Jr Hwy.                     Title: Chairman, President and Chief Executive Officer
10                                                                                                                  Trade Payables                                                              $94,884
   Greenville, NC 27834                                Phone: (781) 622-1000
   United States                                       Email: marc.casper@thermofisher.com
   Trustees of the University of Pennsylvania
   C/O Penn Center For Innovation                      Attn: Ramanan Raghavendran
   Office of the University Secretary                  Title: Chair
11                                                                                                                  Trade Payables                                                              $94,677
   1 College Hall, Room 211                            Phone: (215) 898-7005
   Philadelphia, PA 19104-6303                         Email: ofcsec@pobox.upenn.edu
   United States
   Yuki Gosei Kogyo Co Ltd
                                                       Attn: Seiichiro Matsumoto
   10-4, Nihonbashi-Ningyocho 3-Chome
                                                       Title: President/CEO/Executive Officer
12 Chuo-Ku                                                                                                          Trade Payables                                                              $81,250
                                                       Phone: (212) 318-2000
   Tokyo, 103-0013
                                                       Email: Y-hiraoka@yuki-gosei.co.jp
   Japan
   ICON Clinical Research Limited
                                                       Attn: Kyle McAllister
   South County Business Park
                                                       Title: Executive Director, Business Development
13 Leopardstown                                                                                                     Trade Payables                                                              $76,286
                                                       Phone: (402) 875-0211
   Dublin 18,
                                                       Email: Kyle.McAllister@iconplc.com
   Ireland
   Bachem
                                                       Attn: Lara Hurant
   Bachem Americas, Inc
                                                       Title: Project Manager
14 1271 Avenida Chelsea                                                                                             Trade Payables                                                              $60,000
                                                       Phone: (888) 422-2436
   Vista, CA 92081
                                                       Email: lara.hurant@bachem.com
   United States
   Fisher Clinical Services, Inc.                      Attn: Marc N. Casper
   13741 Collections Center Drive                      Title: Chairman, President and Chief Executive Officer
15                                                                                                                  Trade Payables                                                              $59,454
   Chicago, IL 60693                                   Phone: (781) 622-1000
   United States                                       Email: marc.casper@thermofisher.com
   Kilpatrick Townsend and Stockton LLP                Attn: J. Henry Walker IV
   1100 Peachtree Street NE Suite 2800                 Title: Chair and Chief Executive Officer
16                                                                                                                  Trade Payables                                                              $58,126
   Atlanta, GA 30309                                   Phone: (404) 815-6050
   United States                                       Email: hwalker@ktslaw.com




                                                                                                                1
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     Name of creditor and complete mailing   Name, telephone number, and email address of creditor Nature of the claim Indicate if claim   Amount of unsecured claim
     address, including zip code             contact                                               (for example, trade is contingent,      If the claim is fully unsecured, fill in only unsecured
                                                                                                   debts, bank loans,  unliquidated, or    claim amount. If claim is partially secured, fill in total
                                                                                                   professional        disputed            claim amount and deduction for value of collateral or
                                                                                                   services, and                           setoff to calculate unsecured claim.
                                                                                                   government                              Total claim, if      Deduction        Unsecured claim
                                                                                                   contracts)                              partially            for value of
                                                                                                                                           secured              collateral or
                                                                                                                                                                setoff
   IQVIA Inc.                                Attn: Debora Mesquita
   1700 Perimeter Park Dr                    Title: Associate Clinical Project Management Director
17                                                                                                       Trade Payables                                                               $55,612
   Morrisville, NC 02760                     Phone: +55 16 3306 7351
   United States                             Email: debora.mesquita@iqvia.com
   Frontage Laboratories, Inc.               Attn: Dr. Abdul Mutlib
   700 Pennsylvania Drive                    Title: Chief Executive Officer
18                                                                                                       Trade Payables                                                               $52,865
   Exton, PA 19341                           Phone: (610) 232-0100
   United States                             Email: AccountsReceivable@frontagelab.com
   CPA Global Limited
                                             Attn: Jerre Stead
   2318 Mill Road, 12th Floor
19                                           Title: Executive Chairman and Chief Executive Officer       Trade Payables                                                               $48,251
   Alexandria, VA 22314
                                             Phone: (703) 739-2234
   United States
   Fisher BioServices, Inc.                  Attn: Marc N. Casper
   14665 Rothgeb Drive                       Title: Chief Executive Officer
20                                                                                                       Trade Payables                                                               $39,479
   Rockville, MD 20850                       Phone: (301) 315-8460
   United States                             Email: paul.abel@thermofisher.com
     Eurofins Lancaster Laboratories, Inc.   Attn: Dr. Gilles G. Martin
     2425 New Holland Pike                   Title: Chairman of the Board and Chief Executive Officer
21                                                                                                       Trade Payables                                                               $38,795
     Lancaster, PA 17601                     Phone: (717) 656-2300
     United States                           Email: KatelynMartin@eurofinsUS.com
     Intsel Chimos                           Attn: Corinne Truffault
     1 Rue Royale- Batiment D                Title: Chief Executive Officer
22                                                                                                       Trade Payables                                                               $38,295
     Saint-Cloud, 92210                      Phone: +33 1 49 11 66 80
     France                                  Email: corinne@intselchimos.com
                                             Attn: Richard Franco
   Richard Franco
                                             Title: Consultant
23 C/O TRG Communications LLC                                                                            Trade Payables                                                               $30,745
                                             Phone: (919) 606-2908
   Address On File
                                             Email: richfranco34@gmail.com
   Addison Whitney                           Attn: Natasha Kempf
   11525 N Community House Rd Ste 400        Title: Director of Finance
24                                                                                                       Trade Payables                                                               $28,951
   Charlotte, NC 28277                       Phone: (704) 697-4020
   United States                             Email: nkempf@addisonwhitney.com
   Oracle America Inc.                       Attn: Safra A. Catz
   2300 Oracle Way                           Title: Chief Executive Officer
25                                                                                                       Trade Payables                                                               $28,638
   Austin, TX 78741                          Phone: (737) 867-1000
   United States                             Email: safra.catz@oracle.com
   Partners4access B.V.
                                             Attn: Sophie Schmitz
   Boslaan 18
26                                           Title: Managing Partner                                     Trade Payables                                                               $23,375
   Hilversum 1217 CV,
                                             Phone: 31 6 55 88 71 96
   Netherlands
   Broadridge ICS                            Attn: Tim Gokey
   5 Dakota Drive, Suite 300                 Title: Chief Executive Officer
27                                                                                                       Trade Payables                                                               $21,562
   Lake Success, NY 11042                    Phone: (800) 353-0103
   United States                             Email: remittance@broadridge.com
   Integrichain, Inc.
                                             Attn: Josh Halpern
   8 Penn Center, 3rd Flr.
                                             Title: Co-Founder and Chief Executive Officer
28 1628 JFK Blvd.                                                                                        Trade Payables                                                               $18,120
                                             Phone: (609) 806-5005
   Philadelphia, PA 19103
                                             Email: jhalpern@integrichain.com
   United States
   Clinigen Inc.
   Idis House                                Attn: Jerome Charton
29 Churchfield Road                          Title: Chief Executive Officer                              Trade Payables                                                               $16,991
   Weybridge Surrey, KT46 8DB                Phone: +44 (0) 1932 824000
   United Kingdom
   Accenture LLP                             Attn: Julie Sweet
   500 W Madison St                          Title: Chief Executive Officer
30                                                                                                       Trade Payables                                                               $16,446
   Chicago, IL 60661-2592                    Phone: (312) 693-0161
   United States                             Email: karla.e.falco@accenture.com




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            Fill in this information to identify the case and this filing:

           Debtor Name          EIGER BIOPHARMACEUTICALS, INC.

           United States Bankruptcy Court for the:                Northern District of Texas
                                                                                                          (State)
           Case number (If known):


        Official Form 202
        Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

        An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
        submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
        the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
        debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

        WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
        by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
        U.S.C. §§ 152, 1341, 1519, and 3571.



                     Declaration and signature

                  I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
                  partnership; or another individual serving as a representative of the debtor in this case.

                  I have examined the information in the documents checked below and I have a reasonable belief that the information is true
                  and correct:

              ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
              ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              ☐     Schedule H: Codebtors (Official Form 206H)
              ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              ☐     Amended Schedule
              ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)
              ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement
            I declare under penalty of perjury that the foregoing is true and correct.


                                                4/1/2024
             Executed on
                                                MM/ DD/YYYY                              Signature of individual signing on behalf of debtor
                                                                                         David Apelian
                                                                                         Printed name
                                                                                         Chief Executive Officer
                                                                                         Position or relationship to debtor

        Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
